Trustee Case
        Copy   05-29176        Doc 53   Filed 06/26/09 Entered 06/26/09 09:12:29 Desc Main
                                     United States Bankruptcy
                                          Document     Page 1 Court
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                             for the Northern District of Illinois, Eastern Division

IN RE: Williams, Mildred                               )                     Case No. 05 B 29176
                                                       )                     Judge Pamela S. Hollis
                                                                             Date 06/23/09
            NOTICE OF PAYMENT OF FINAL MORTGAGE CURE AMOUNT
                                                                             Debtor Attorney:
                                                                             Philip A. Igoe
                                                                             221 N LaSalle St Ste 655
                                                                             Chicago, IL 60601
Mildred Williams
3818 W Maypole
Apt 2                                                                        Mail
Chicago, IL 60624



Mail




       NOTE: Please refer to the confirmed plan to see if this notice applies to you.
1) The Trustee's records indicate that in the above case the pre-petition mortgage arrears claim of
   Diamond Home Service (the holder) has been paid in full.
2) The holder is required to treat the mortgage as reinstated and fully current unless the debtor has
   failed to make timely payments of postpetition obligations.
3) If the debtor has failed to make timely payments of any postpetition obligations, the holder is
   required to itemize all outstanding payment obligations as of the date of the notice, and file a
   statement of these obligations with the court, giving notice to the standing trustee, the debtor, and any
   attorney for the debtor, within 60 days of service of the notice from the trustee (or longer time as the
   court may order).
4) If the holder fails to file and serve a statement of outstanding obligations within the required time, the
   holder is required to treat the mortgage as reinstated according to its original terms, fully current as of
   the date of the trustee's notice.
5) If the holder does serve a statement of outstanding obligations within the required time, the debtor
   may
   (i) within 30 days of service of the statement, challenge the accuracy of the statement by motion
   filed with the court, on notice to the holder and the standing trustee, with the court resolving the
   challenge as a contested matter, or
   (ii) propose a modified plan to provide for payment of additional amounts that the debtor
   acknowledges or the court determines to be due.
6) To the extent that amounts set forth on a timely filed statement of outstanding obligations are not
   determined by the court to be invalid or are not paid by the debtors through the modified plan, the
   right of the holder to collect these amounts will be unaffected.
7) No liability shall result from any nonwillful failure of the trustee to serve the notice required.
Office of the Chapter 13 Trustee                                             Creditor Address:
Suite 800
224 South Michigan Avenue                                                    Diamond Home Service
Chicago, IL 60604-2500                                                       5030 W Lawrence
(312) 431-1300                                                               Chicago, IL 60630


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